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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

----------------------------------------x
LIVEPERSON,   INC.,

                       Plaintiff,
                                                      14 Civ. 1559 (RWS)
     - against -
                                                             OPINION

24/7 CUSTOMER, INC.,

                    Defendant.
----------------------------------------x

A P P E A RA N C E S:

          Attorneys for Plaintiffs
                                                 USDCSDNY
                                                 DOCU~tfENT
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                                                1'FLECTRONlCALLY       FILED 1:
          O'MELVENY & MYERS, LLP               r·dnoc
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                                                        #·                    '

                                                                                  1
          7 Times Square                         DATE rlLED:
          New York, NY 10036
          By:  Carolyn S. Wall, Esq.

          O'MELVENY & MYERS, LLP
          Two Embarcadero Center, 28th Floor
          San Francisco, California 94111-3823
          By:  George A. Riley, Esq.
               Mark E. Miller, Esq.
               David Eberhart, Esq.
               Susan Roeder, Esq.
               Elysa Q. Wan, Esq.



          Attorneys for Defendants

          COHEN & GRESSER LLP
          800 Third Avenue
          New York, New York 10022
          By:  Mark S. Cohen, Esq.
               Sandra C. Mccallion, Esq.

          HONIGMAN MILLER SCHWARTZ AND COHN LLP
          130 S. First Street, 4th Floor
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    Ann Arbor, MI 48104
    By:  J. Michael Huget, Esq.
         Jeffrey K. Lamb, Esq.
         Roger P. Meyers, Esq.
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Sweet, D.J.


            Defendant 24/7 Customer, Inc.        (" [24] 7" or "24/7"     or

"Defendant), moves to dismiss plaintiff Liveperson, Inc.'s

("LivePerson" or "Plaintiff") First Amended Complaint ("FAC" or

"Complaint") filed May 15, 2014.           As to any claims not

dismissed, Defendant moves for an order requiring Plaintiff to

provide a more definite statement.           Based upon the conclusions

set for below, the motion to dismiss the complaint is granted in

part and denied in part, and the motion for a more definite

statement is granted in part and denied in part.



Prior Proceedings



            LivePerson initiated this action on March 6, 2014 by

filing a summons and complaint.         On May 15, 2014, Plaintiff

filed the FAC alleging:      (i) copyright infringement in violation

of 17 U.S.C.   §   101 et seq.;    (ii) violation of the Digital

Millennium Act, 17 U.S.C.      §   1201(a)   ("DMCA");   (iii) violation of

the Computer Fraud and Abuse Act, 18 U.S.C.          §   1030 ("CFAA");

(iv) misappropriation of trade secrets;          (v) breach of contract;

(vi)   intentional interference with advantageous existing

economic relationships;      (vii)   intentional interference with

prospective advantageous economic relationships;            (viii) unfair



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competition in violation of the Lanham Act, 28 U.S.C.                                  §   1125(a);

(ix) common law unfair competition; and (x) unjust enrichment.

On July 18, 2014, Defendant filed the instant motion, seeking to

dismiss each of Plaintiff's ten causes of action, and further

seeking an order for a more definitive statement for any of

Plaintiff's claims that are not dismissed.                                The instant motion

was heard and marked fully submitted on September 24, 2014.



Facts



            For the purposes of this motion, the FAC's allegations

are assumed true and summarized as follows.



            LivePerson, a Delaware corporation with its principal

place of business in New York City, provides customers with

live-interaction and customer engagement technology for e-

commerce websites, enabling businesses to interact in real-time

with their website customers.            FAC          ':l[':l[   1, 10.     [24]7, a

California corporation with its principal place in New York

City, is a customer service technology that historically

provided human call-center operators to answer phones in

customers' call centers.       FAC   ':l[':l[       3, 11.          More recently,         [24] 7

also developed its own live-interaction technology.                                FAC ':JI 7.




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             In 2006 and 2007,   [24]7 and LP entered into two

contracts to cooperatively market to and serve certain

customers: a Co-Marketing and Referral Agreement ("CMA") and a

Master Service Agreement    ("MSA").     FAC Ex. A and Ex. B.          The

contracts were executed in support of the "joint solutions" the

parties intended to offer their clients, namely, use of

LivePerson's technology coupled with [24]7's call center

personnel.     FAC 'lI 3.



             Under the CMA, which took effect on July 10, 2006,

[24]7 obtained a license to "access, operate, and use"

LivePerson's intellectual property as specified in the CMA until

expiration or termination of the agreement.             CMA 'lI 2.1.   The

parties acknowledged the CMA did not grant a party the rights to

the other party's intellectual property beyond the limited

license granted in the agreement.        CMA 'lI 2.4.     The CMA permitted

each party to co-market the other party's products and services

to certain third parties, but each party reserved the right to

"sell, license, support and install its own products and

services either directly to customers or indirectly" through

various distribution channels.      CMA 'll'll 4.1, 4.3.      The CMA

included schedules listing LivePerson's customers and [24]7's

customers.     FAC Ex. A Schedules 1, 2.




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            On January 26, 2007,        [24]7 and LivePerson entered into

the MSA.    Among other things, LivePerson agreed to provide [24]7

with "access to and license to use" LivePerson's service for the

purpose of delivering services to these clients.                 MSA ':II':II 5(b),

7(a).    The MSA set forth the terms and conditions under which

LivePerson was able to offer the combined solution to its

clients.     FAC ':II 27.



             [24]7 began to develop its own competing live-

interaction technology, allegedly by misappropriating

LivePerson's software and selling it as its own.                 FAC ':II 35.

[24]7 also allegedly engaged in additional improper conduct in

order to gain a competitive edge over LivePerson.                 See generally

FAC ':II 35-51.   The alleged conduct includes accessing

LivePerson's back-end systems to download and manipulate

LivePerson's data for the purpose of copying LivePerson's

technology, and interfering with LivePerson's client

relationships.       FAC ':II 37.   [24]7 also allegedly designed its

competing software to both interfere with LivePerson's software,

such that a customer using both technologies on its website

would experience poor performance from LivePerson's technology,

and to collect performance data from LivePerson's data, which

would then be sent to [24]7.          FAC ':II':II 39, 40, 44.   [24]7 used its

access to LivePerson's code to "mimic" LivePerson, thereby


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gaining access to LivePerson's servers and mining LivePerson's

confidential and proprietary system data.         FAC   ~   41.   [24]7's

alleged conduct also included poaching LivePerson employees to

work for [24]7, falsely claiming that [24]7's software is the

"first predictive or smart chat platform," and disseminating

fabricated and disparaging LivePerson performance metrics to

clients.   FAC   ~~   38, 45-46.



The Applicable Standard



           Under Rule 12 (b) ( 6), "a complaint must contain

sufficient factual matter, accepted as true, to 'state a claim

to relief that is plausible on its face.'"         Ashcroft v. Iqbal,

556 U.S. 662, 678      (2009)   (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007)).         A claim is facially plausible when

"the plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable for

the misconduct alleged."         Iqbal, 556 U.S. at 663 (quoting

Twombly, 550 U.S. at 556).         In other words, the factual

allegations must "possess enough heft to show that the pleader

is entitled to relief."         Twombly, 550 U.S. at 557     (internal

quotation marks omitted)



           Though the court must accept the £actual allegations

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of a complaint as true, it is "not bound to accept as true a

legal conclusion couched as a factual allegation."           Iqbal, 556

U.S. at 678    (quoting Twombly, 550 U.S. at 555).



            In considering a motion to dismiss, "a district court

may consider the facts alleged in the complaint, documents

attached to the complaint as exhibits, and documents

incorporated by reference in the complaint."          DiFolco v. MSNBC

Cable L.L.C., 622 F.3d 104, 111 (2d Cir. 2010).



The Copyright Infringement Claim Is Not Adequately Pled



            The parties agree that a copyright infringement claim

must allege:    (1) which specific original works are the subject

of the claim;    (2) plaintiff's ownership of the copyrights in

those works;    (3) proper registration of the copyrights; and (4)

"by what acts during what time the defendant infringed the

copyright."     Kelly v. L.L. Cool J., 145 F.R.D. 32, 36 (S.D.N.Y.

1992), aff'd, 23 F.3d 398      (2d Cir. 1994), cert. denied, 513 U.S.

950   (1994), cited in Def.'s Mem. in Supp. 4 and Pl.'s Mem. in

Opp'n 5.



            With respect to the first three elements, Plaintiff

has adequately identified the LivePerson Visitor Monitoring


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Module (the "Module") as its original work, alleged that it is

copyrighted, and that the copyright was registered with the

United States Copyright Office.             See FAC    ~    53 and FAC Ex. C.

Defendant contends, however, that Plaintiff has failed to

adequately plead the fourth infringement element.



             Plaintiff alleges that "24/7, without LivePerson's

authorization or consent" copied "LivePerson's own copyrighted

software code."     FAC   ~   53.   Plaintiff further alleges that

"[24]7's conduct constitutes direct and intentional infringement

of LivePerson's exclusive rights under the Copyright Act to

control the reproduction, publication, use and display of

LivePerson's live-interaction technology, including the

LivePerson Visitor Monitoring Module."                FAC    ~   54.



             Defendant contends that Plaintiff fails to adequately

allege the time of infringement, that the FAC does not identify

[24]7's infringing product, and that the Plaintiff has not pled

which aspects of its Module were copyrightable.                        Def.' s Mem. in

Supp. 5-6.     For the purposes of a motion to dismiss, courts

evaluating the time of infringement element under Kelly consider

whether the complaint, read in the light most favorable to the

non-moving party, contains enough factual allegations to provide

notice of the period of time during which infringement occurred.


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See Tangorre v. Mako's, Inc., 01-cv-4430, 2002 WL 313156, at *3

(S.D.N.Y. Jan. 30, 2002)    (collecting cases to outline the

distinction: "Compare Carell v. Shubert Org., Inc., 104 F. Supp.

2d 236, 251   (S.D.N.Y. 2000)   (complaint sufficient under Rule 8

[ . . . ] where plaintiff alleged the publication of certain

designs in national and international stage productions and

videos in 1997 and 1998 and their use in certain commercial

products) and Kelly, 145 F.R.D. at 36 n.3       (infringement claim

adequately supported when plaintiff narrowed the infringing act

to the publishing and distribution of two specific songs during

1991) with Mahnke v. Munchkin Prod., Inc., 99-cv-4684, 2001 WL

637378, at *5 (S.D.N.Y. Jun. 07, 2001)       (no proper allegation of

the nature of the infringing act with only generic references to

an infringing 'baby soda bottle,'       beginning some time in 1993)

and Plunket v. Doyle, 99-cv-11006, 2001 WL 175252, at *5

(S.D.N.Y. Feb. 22, 2001)    (claim insufficiently detailed where

plaintiff merely alleged that defendants had entered into or had

offered licenses "granting the rights to exploit [the books at

issue] in various media" during an unspecified period of

time)").



           A complaint containing no reference to time of

infringement will not survive a motion to dismiss, but one in

which the plaintiff alleges continued infringement from a


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specific time to the present may survive.          Compare Jacobs v.

Carnival Corp.,    06-cv-0606, 2009 WL 856637, at *5        (S.D.N.Y. Mar.

25, 2009)    (granting motion to dismiss where "Plaintiffs make no

reference whatsoever to time in the Complaint") with Home &

Nature Inc. v. Sherman Specialty Co., 322 F. Supp. 2d 260, 266-

267   (E.D.N.Y. 2004)   (denying motion to dismiss where complaint

alleges ongoing infringement since December 2000); but see

Mahnke,    2001 WL 637378, at *5    (described above).



             Plaintiff contends that the FAC's allegations, taken

together, are fairly read as alleging that the period of

infringement was "between 2006 when the parties began their

contractual relationship and May 2014 when LivePerson filed the

FAC."     Pl.'s Mem. in Opp'n 6.     However, the FAC does not specify

time of infringement, nor can a period of infringement fairly be

implied from the various allegations in the FAC and its

exhibits.     While the FAC clearly alleges that the parties'

contractual relationship began in 2006, this allegation does not

place Defendant on notice that the alleged copyright

infringement started then as well.         Nor does the FAC contain any

allegation either stating the end of the infringement period or

that the infringement continued from 2006 to the present.             This

assertion was made for the first time in Plaintiff's brief in

opposition, rather than in the FAC.         See Pl.'s Mem. in Opp'n 6.


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The case law Plaintiff cites in support of its contention that

time of infringement is adequately pled does not contradict the

outcome here.     In Richard Feiner & Co. v. Larry Harmon Pictures

Corp., the complaint alleged that the purportedly infringed

"copyrights remain in full force as and of the date of this

complaint and were in effect at all times during the complained

of acts."    38 F. Supp. 2d 276, 279 (S.D.N.Y. 1999).        A similar

assertion cannot be made by Plaintiff, since the Module was

registered in 2014, not in 2006 when the FAC's time frame began.

See FAC Ex. C.     In Home & Nature, the complaint, unlike here,

explicitly alleged ongoing infringement.        322 F. Supp. 2d 260,

266-267.     Finally, in Tangorre, the complaint explicitly alleged

a defined period, December 21, 2000, through April 5, 2001,

during which the copyright was infringed.        2002 WL 313156, at *3

(S.D.N.Y. Jan. 30, 2002).



             In addition to its time-of-infringement argument,

Defendant further contends that the FAC does not identify

[24]7's infringing product, and that the Plaintiff has not pled

which aspects of its Module were copyrightable.         Def.'s Mem. in

Supp. 5-6.    The accusation that Defendant copied the entire

module necessarily implies that Defendant copied protectible

elements of the module.     Nevertheless, failure to plead a time

period of infringement renders the claim inadequate.


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The DMCA Claim Is Not Adequately Pled



               Defendant contends that Plaintiff failed to allege

both the existence of a technological measure and actions

constituting circumvention within the meaning of the Digital

Millennium Act.          Def.'s Mem. in Supp. 7-8.



               The DMCA states, in relevant part, that "[n]o person

shall circumvent a technological measure that effectively

controls access to a work protected under this title."                     17

U.S.C.    §   120l(a).     "[T]o 'circumvent a technological measure'

means to descramble a scrambled work, to decrypt an encrypted

work, or otherwise to avoid, bypass, remove, deactivate, or

impair a technological measure, without the authority of the

copyright owner."          17 U.S.C.   §   1201 (a) (3) (A).   The act of

circumvention under the DMCA can be characterized as "breaking

and entering (or hacking)         into computer systems.         I. M.   S. Inquiry

Mgmt. Sys., Ltd. v. Berkshire Info. Sys., Inc., 307 F. Supp. 2d

521, 532      (S.D.N.Y. 2004).     Moreover, "a person circumvents a

technological measure only when he affirmatively performs an

action that disables or voids the measure that was installed to

prevent them from accessing the copyrighted material."                     Dish

Network L.L.C. v. World Cable Inc., 893 F. Supp. 2d 452,                    466

(E.D.N.Y. 2012)      (internal quotations and citations omitted).


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             A "technological measure 'effectively controls access

to a work'    if the measure,     in the ordinary course of its

operation, requires the application of information, or a process

or a treatment, with the authority of the copyright owner, to

gain access to the work.         17 U.S.C. § 1201 (a) (3) (B).



             Courts in this Circuit have held that password

protection, DVD encryption measures, and activation and

validation keys are technological measures within the meaning of

the DMCA.      I.M.S. Inquiry, 307 F. Supp. 2d at 531        (S.D.N.Y.

2004)    (password protection); Paramount Pictures Corp. v. 321

Studios, 03-cv-8970, 2004 WL 402756, at *l (S.D.N.Y. Mar. 3,

2004)    (encryption system for DVDs); Macrovision v. Sima Prods.

Corp., 05-cv-5587, 2006 WL 1063284, at *l (S.D.N.Y. Apr. 20,

2006)    (same); Adobe Sys. Inc. v. Feather, 895 F. Supp. 2d 297,

301-02    (D. Conn. 2012)      (activation and validation key codes for

software).      Outside this Circuit, a "secret handshake" protocol,

a software security measure ensuring that only authorized users

would be able to access to a particular website, was found to

qualify as a technological measure.          Davidson & Associates v.

Jung,    422 F.3d 630,   640    (8th Cir. 2005).



             The Complaint's allegations here are somewhat

contradictory.       In one portion, Plaintiff alleges that Defendant


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already had access to its backend system pursuant to Defendant's

business relationship with Plaintiff, and that Defendant misused

its access to "observe, penetrate, and manipulate the operation

of LivePerson's technology and download extensive data                                   in

order .      . to reverse engineer and copy LivePerson's

technology."          FAC    ~    37.   Plaintiff further alleges that [24]7

improperly used its knowledge of LivePerson's customer-facing

software architecture to mimic LivePerson, thereby gaining

unauthorized access to LivePerson's secure internal computer

system.     FAC   ~    37.        In another part of the Complaint, Plaintiff

alleges that      [24]7 improperly used its knowledge of LivePerson's

customer-facing software architecture to mimic LivePerson,

thereby gaining unauthorized access to LivePerson's secure

internal computer system.                See FAC     ~~    41,    61.    Once inside

LivePerson's secure system,                [24]7 allegedly installed spyware to

obtain competitive information on LivePerson's software product

and also introduced code that would degrade the functionality of

LivePerson's software product.                 FAC    ~~    41,    61.    The FAC also

alleges that, having accessed Plaintiff's internal computer

system, Defendant reverse-engineered Plaintiff's software

products.     FAC      ~    42.



             Plaintiff contends that its allegations are akin to

those in Davidson, where the plaintiff established circumvention


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by claiming that the defendant reverse-engineered the

plaintiff's software in order to bypass the plaintiff's security

measures.     Pl.'s Mem. in Opp'n 8; see Davidson, 422 F.3d at 641.

Even setting aside Paragraph 37's contradicting allegation, the

reverse-engineering here is alleged to have occurred after [24]7

allegedly breached LivePerson's system.           See FAC   ~   42.   The

Complaint does not allege that Defendant used reverse

engineering to circumvent its security measures, but rather that

"LivePerson believes that [24]7          [breached its security measures]

in an effort to reverse engineer and misappropriate the

proprietary technology and methodologies that LivePerson

pioneered."     FAC    ~   42.   In short, the reverse engineering

allegations do not constitute circumvention within the meaning

of the DMCA.



            The remaining allegation that may be construed as "an

action that disables or voids the measure that was installed to

prevent them from accessing the copyrighted material," Dish

Network, 893 F. Supp. 2d at 466, is Defendant's purported

mimicking Plaintiff in order to gain access to Plaintiff's

secure system.        However, even if that were to constitute

circumvention, Plaintiff does not adequately allege what

technological measure the mimicry circumvented.             In all of the

cases discussed above, including Davidson, upon which Plaintiff


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relies,   Pl.'s Mem. in Opp'n 8, the complaints explicitly

referenced a password, encryption system, software protocol,

validation key, or some other measure designed to thwart

unauthorized access to a protected work.           The FAC states that

Defendant, by impersonating Plaintiff, "circumvented

LivePerson's security measures" without specifying what those

measures were.    FAC   ~   42.   Without specifying the technological

measure, the FAC does not provide Defendant with adequate notice

of the claim, i.e., information upon which to determine whether

the measure "effectively controls access to a work" within the

meaning of the DMCA.        17 U.S.C. § 1201   (a) (3) (B).



            Plaintiff has not adequately alleged circumvention of

a technological measure within the meaning of the DMCA.



The CFAA Claim Is Not Adequately Pled



            Defendant contends that Plaintiff fails to state a

claim under the Computer Fraud and Abuse Act, both because

Plaintiff has not pled facts showing that [24]7 exceeded its

authorization to access LivePerson's computers and because

Plaintiff has not adequately alleged damages cognizable under

the CFAA.    See Def.'s Mem. in Supp.      9-10.




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                The CFAA is principally a criminal statute prohibiting

"fraud and related activity in connection with computers."                   18

U.S.C.    §   1030.    The Act also establishes a private cause of

action against a person who "knowingly accessed a computer

without authorization or exceeding authorization," and whose

prohibited access result in:         (a)    "loss" in excess of $5,000;       (b)

interference with a person's medical treatment;            (c) physical

injury;       (d)   a threat to public health or safety; or (e) damage

to a specific category computers used by the United States

Government and its affiliates.             See 18 U.S.C. § 1030(g),

referencing 18 U.S.C. § 1030(c) (4) (A) (i) (I)-(V), see generally

18 U.S.C. § 1030(a).



                Plaintiff's CFAA claim is presumably based upon

economic damages in excess of $5,000, as FAC's allegations

foreclose the other bases for liability under the CFAA.                See

e.g., 18 U.S.C. § 1030(a) (1)        (relating to certain classes of

computers protected the United States Government); § 1030(a) (3)

(relating to certain classes of computers used by the United

States Government) ; § 1030 (a) ( 4)        (accessing computers with

intent to defraud); § 1030 (a) ( 6)         (trafficking in computer

passwords); § 1030 (a) (7)       (engaging in extortion).



                To state a claim for loss in excess of $5,000,


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Plaintiff must plead that Defendant:               (1) accessed a "protected

computer";    (2)   "without any authorization or exceeding its

authorized access"; and (3) caused "loss" in excess of $5,000.

See, 18 U.S.C. § 1030(g) referencing 18 U.S.C. § 1030(a) (2)

(obtaining information from a "protected computer" through

unauthorized access)      and   §   1030 (a) (5)    (damaging a protected

computer directly through unauthorized access or by knowingly,

and without authorization,          introducing a program, information,

code or command into the protected computer resulting in

damage).     Under the Complaint's set of allegations, Section 1030

limits damages to "economic damages."               18 U.S.C. § 1030(g).



             Under the Act, a "protected computer" is defined, in

relevant part, as a computer "which is used in or affecting

interstate or foreign commerce or communication."                18 U.S.C. §

1030 (e) (2) (B).    While authorization is not defined, "exceeds

authorized access" is defined as "access[ing] a computer with

authorization and .        . us[ing]      such access to obtain or alter

information in the computer that the accesser is not entitled so

to obtain or alter."       18 U.S.C. § 1030 (e) (6).         "Loss" is defined

as "any reasonable cost to any victim, including the cost of

responding to an offense, conducting a damage assessment, and

restoring the data, program, system, or information to its

condition prior to the offense, and any revenue lost, cost


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incurred, or other consequential damages incurred because of

interruption of service."      18 U.S.C. § 1030(e) (11).      Damage is

defined as "any impairment to the integrity or availability of

data, a program, a system, or information."         18 U.S.C.    §


1030 (e) (8).



            Plaintiff's allegation that its servers are engaged in

internet commerce sufficiently establishes that they are

"protected computers" within the meaning of the Act.            FAC 'TI 65.



            With respect to unauthorized access, Plaintiff alleges

that Defendant "abused its access to LivePerson's back-end

systems to observe, penetrate, and manipulate the operations of

LivePerson's servers."      FAC 'TI 37.   As Defendant correctly notes,

there is some uncertainty on the question of whether a user who

is authorized to access a computer and abuses that privilege to

the detriment of the computer-owner is "exceeding [the user's]

authorized access" within the meaning of the Act.           See Def.'s

Mem. in Supp. 9-10 citing, JBC Holdings NY, LLC v. Pakter, 931

F. Supp. 2d 514, 522     (S.D.N.Y. 2013).



            As the Honorable Paul A. Engelmayer explained in JBC,

the Second Circuit has not ruled on this issue and other

Circuits are split.     931 F. Supp. 2d at 521-22.       The First,


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Fifth, Seventh and Eleventh Circuits held that a defendant that

misuses information to which he was given access constitutes

exceeding authorized access within the meaning of the Act, what

Judge Engelmayer termed the "broad" approach.          Id.   By contrast,

the Fourth and Ninth Circuits held that that misuse of

information alone is insufficient to establish that a defendant

exceeded his authorized access, what Judge Engelmayer termed the

"narrow" approach.       Id.



               Different district courts within this Circuit have

likewise come to divergent conclusions on the question of how

broadly to interpret the term "exceeds authorized access."               Id.

("Compare United States v. Aleynikov, 737 F.Supp.2d 173, 190-94

(S.D.N.Y.2010)      (Cote, J.)   (taking the narrow approach, and

stating that "[t]he phrases 'accesses a computer without

authorization' and 'exceeds authorized access' cannot be read to

encompass an individual's misuse or misappropriation of

information to which the individual was permitted access.            What

use an individual makes of the accessed information is utterly

distinct from whether the access was authorized in the first

place."), Advanced Aerofoil Techs., AG v. Todaro, No. 11 Civ.

9505   (ALC)    (DCF), 2013 WL 410873, at *7   (S.D.N.Y. Jan. 30, 2013)

(Carter, J.)      (narrow approach), Univ. Sports Publ'ns Co. v.

Playmakers Media Co., 725 F.Supp.2d 378, 383-84         (S.D.N.Y.2010)


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(Holwell,    J.)    (narrow approach), and Orbit One Commc' ns., Inc.

v. Numerex Corp.,      692 F.Supp.2d 373, 384-86 (S.D.N.Y.2010)

(Kaplan,    J.)    (narrow approach), with Mktg. Tech. Solutions, Inc.

v. Medizine LLC, No. 09 Civ. 8122(LLM), 2010 WL 2034404, at *7

(S.D.N.Y. May 18, 2010)       (McKenna,    J.)   (broad approach), Calyon

v. Mizuho Secs. USA, Inc., No. 07 Civ. 2241(RO), 2007 WL

2618658, at *l (S.D.N.Y. Sept. 5, 2007)            (Owen, J.)   (broad

approach), and Register.com, Inc. v. Verio, Inc., 126 F.Supp.2d

238, 253    (S.D.N.Y.2000)    (Jones, J.)    (broad approach)").



             This Court joins the majority in this district in

adopting the "narrow" approach, for the reasons more extensively

articulated in JBC.       See generally, 931 F. Supp. 2d at 522-25.

Briefly, the narrow approach grounds the definition in access

rather than use, and avoids adding "a subjective intent

requirement that Congress did not impose" to the Act.               Id.   The

narrow approach is also in harmony with the type of "loss"

against which the Act protects, since the Second Circuit made

clear that the Act does not recognize losses related to

misappropriation of information.           Id. citing Nexans Wires S.A.

v. Sark-USA, Inc., 166 Fed. Appx. 559, 563            (2d Cir. 2006)

(affirmed the district court's reading of this provision to

exclude losses incurred as a result of plaintiff's

misappropriation of proprietary information).             Finally, "lenity


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requires ambiguous criminal laws to be interpreted in favor of

the defendants subjected to them," and the narrow approach

conforms to this rule.      JBC,       931 F. Supp. 2d at 524 quoting

Jones v. United States, 529 U.S. 848, 858             (2000).



             In sum, a defendant "exceeds authorized access" as

defined by Section 1030(e) (6) "when he has permission to access

certain information on a computer, but accesses other

information as to which he lacks permission."              JBC, 931 F. Supp.

2d at 523.



             Applied to this case, the Complaint does not

adequately allege that Defendant exceeded its authorized access

with respect to Plaintiff's computer system.              Plaintiff's

allegations focus primarily on Defendant's misuse of data

obtained through authorized access.              See, e.g., FAC   ~   37

(alleging that "[24]7 enjoys the client's access to LivePerson's

back end systems          . and              abused its access"); FAC      ~   39

(same); FAC    ~   41 (alleging that Defendant mimicked Plaintiff in

order to "hijack[] LivePerson's programming                 . secretly

inject[ing] millions of tracking and indexing numbers into

LivePerson's systems"); FAC        ~    47   (alleging that "the MSA and Co-

Marketing Agreement put strict protections in place to prevent

24/7 from using its access to LivePerson's intellectual property


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for any purpose other than the mutually beneficial activities of

the parties .       [and] access to LivePerson's technology was

never provided for the purpose of allowing or assisting 24/7 to

create competing technology"); FAC       ~   48   (same).     Other

allegations of Defendant's purported abuses of the Plaintiff's

systems do not discuss the means by which Defendants allegedly

gained access to those systems and so cannot be construed as

establishing that Defendant either lacked or exceeded its

authorization within the meaning of the CFAA.               See, e.g.,   FAC   ~


40 (alleging that Plaintiff discovered "[24]/7 programming code

embedded on client websites that is clearly designed to siphon

data regarding the operation and activity of LivePerson's

proprietary behavioral analytics and predictive targeting

functionalities - and then stream this information back to

[24]7's servers"); FAC   ~   43 (alleging that "LivePerson also has

discovered evidence that 24/7 has abused its access to client

websites and to LivePerson systems" in order to disrupt

Plaintiff's systems and harm its relations with its customers).



          In addition to inadequately pleading the authorization

element of the CFAA claim, Plaintiff also fails to adequately

allege economic damage as required under the Act.               To state a

private claim under the CFAA, a plaintiff must plead damage or

loss in excess of $5,000.      See 18 U.S.C. § 1030(g); Nexans Wires


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S.A. v. Sark-USA, Inc., 319 F. Supp. 2d 468, 474                  (S.D.N.Y. 2004)

aff'd, 166 F. App'x 559 (2d Cir. 2006).                 Loss is defined as "any

reasonable cost to any victim, including the cost of responding

to an offense, conducting a damage assessment, and restoring the

data, program, system, or information to its condition prior to

the offense, and any revenue lost, cost incurred, or other

consequential damages incurred because of interruption of

service."   18 U.S.C.        §   1030 (e) (11).    Damage is defined as "any

impairment to the integrity or availability of data, a program,

a system, or information."             18 U.S.C.   §   1030 (e) (8).   Both loss

and damage must relate to the victim's computer systems.

Nexans, 319 F. Supp. 2d at 477; Civic Center Motors, Ltd. v.

Mason Street Imported Cars, Ltd., 387 F.Supp.2d 378, 381

(S.D.N.Y. 2005).



            Plaintiff alleges that Defendant's "wrongful conduct

    endangered LivePerson's relationships with several major

clients       . and harmed LivePerson financially in an amount

well in excess of the diversity jurisdictional threshold of

$75,000."    FAC   ~   51.       Specifically in support of its CFAA claim,

Plaintiff further alleges that it suffered "disruption of its

business relationships and the loss of clients and potential

clients, dilution of good will, injury to its reputation,

misappropriation of its intellectual property, and devaluation


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of its live-interaction and analytic technology and its trade

secrets."     FAC   ~   67.   Neither of these allegations are

sufficient.     The former does not specify what portion of the

over $75,000 in damages constitute either loss or damage under

the Act, i.e., whether $5,000 or more of the damages alleged are

attributable to the CFAA claim.          The latter CFAA-specific

allegation does not quantify the loss it alleges and therefore

also does not satisfy the $5,000 threshold requirement.

Plaintiff's CFAA claim is therefore inadequately pled.



The Misappropriation of Trade Secrets Claim Is Adequately Pled



             Defendant contends that Plaintiff fails to state a

claim for misappropriation of trade secrets, both because the

FAC does not establish the elements of a trade secret and

because Plaintiff's allegations do not establish

misappropriation.         See Def.'s Mem. in Supp. 11.



             The parties agree on the applicable standard.          Def.'s

Mem. in Supp. 11; Pl.'s Mem in Opp'n 11.          To state a claim for

trade secret misappropriation under New York law, Plaintiff must

plead that    (1) it possessed a trade secret, and (2) defendant is

using that trade secret in breach of an agreement, confidence,

or duty, or as a result of discovery by improper means.


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Geritrex Corp. v. Dermarite Indus., LLC,         910 F. Supp. 955, 961

(S.D.N.Y. 1996).



             To determine whether information qualifies as a trade

secret, New York courts generally consider six factors: "(l) the

extent to which the information is known outside of the

business;     (2) the extent to which it is known by employees and

others involved in the business;        (3) the extent of measures

taken by the business to guard the secrecy of the information;

(4) the value of the information to the business and its

competitors;     (5) the amount of effort or money expended by the

business in developing the information; and (6) the ease or

difficulty with which the information could be properly acquired

or duplicated by others.       N. Atl. Instruments, Inc. v. Haber,

188 F.3d 38, 44     (2d Cir. 1999).    These factors are guideposts,

not elements, and it is not necessary to plead every single

factor to state a claim, and "the most important consideration

is whether the information is actually a secret."           See Jinno

Int'l Co. v. Premier Fabrics, Inc., 12-cv-07820, 2013 WL

4780049, at *4     (S.D.N.Y. May 24, 2013)     (citing Lehman v. Dow

Jones   &   Co., 783 F.2d 285, 298    (2d Cir. 1986)).



              Plaintiff alleges that its "predictive algorithms" and

"proprietary behavioral analysis methods" based on "many years'


                                      25
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of research undertaken at great expense" constituted a trade

secret.          FAC ':![':![ 1-2.     These algorithms and methods "allow

LivePerson to understand when a website visitor needs help, and

what type of help or content will benefit that visitor at any

given moment" based on "sophisticated analysis of website

visitors' actions and behaviors online, both individually and in

the aggregate."               FAC ':![':![ 17-18.   The methods are based on

"identifying key actions or 'events' that take place during one

or more web browsing sessions, and applying artificial

intelligence to determine whether, when, and how to initiate a

personalized interactive experience to assist that web visitor."

FAC ':![ 19.        And Plaintiff claims that "[these technologies] are

secured by patents, copyrights, trademarks, trade dress and

other trade secret protections," and that Plaintiff included

confidentiality provisions and prohibitions against reverse

engineering, infringing, or disrupting LivePerson's technology

in its direct contracts with [24]7, as well as confidentiality

and limited-use license restrictions in its client agreements,

to which [24]7 is subject as one of the clients' vendors.                      FAC

':![':![   2, 26, 28-29, 32-33.           Finally, Plaintiff alleges that

Defendant could not have replicated Plaintiff's technology

without incurring "millions of dollars in research and

development costs and many years' worth of effort and

investment."             FAC ':![ 8.

                                                    26
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            Plaintiff has adequately alleged that its technology

was contractually protected from dissemination, was the result

of Plaintiff's significant investment of both time and money,

and could not have been developed independently by Defendant

without a similarly substantial investment.               Plaintiff's use of

contractual provisions in contracts with Defendant and with

clients indicate the confidential nature of its technology.                  See

Jinno, 2013 WL 4780049, at *5.            Plaintiff has also alleged that

Defendant misappropriated the trade secret by accessing

Plaintiff's backend system in order to "reverse engineer and

copy" the technology.     FAC   ~   37.        These allegations are

sufficient to plead possession and misappropriation of a trade

secret.



The Breach of Contract Claim Is Adequately Pled



            To state a claim for a breach of contract under New

York law,   Plaintiff must plead plausible facts regarding:            (1)

the existence of a contract;        (2) performance of the plaintiff's

obligations;   (3) breach by the defendant; and (4) damages to the

plaintiff caused by the breach.            Diesel Props S.r.l. v.

Greystone Bus. Credit II LLC, 631 F.3d 42, 52              (2d Cir. 2011)

Defendant contends Plaintiff has not satisfied the first,              third

or fourth elements.     Def.'s Mem. in Supp't 14-16.


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                With respect to existence of a contract, Defendant

contends that Plaintiff must identify the dates of any wrongful

act by Defendants to satisfy by this element, but do not provide

case law to substantiate this assertion.                   See Def.'s Mem. in

Supp't 15.         Plaintiff has adequately pled existence of two

contracts: the MSA and the Co-Marketing Agreement.                   FAC   <J[<J[   25,

27.        Plaintiff has also attached copies of those agreements as

Exhibits A & B to FAC.           Defendants have admitted to the

existence of the agreements.                  See Def .s' Mem. in Supp't 14, fn.

2.       The existence of the contracts is therefore established.



                With respect to Defendant's breach,            Plaintiff

adequately identifies the relevant contractual provisions and by

what alleged actions Defendant violated those provisions.                           FAC

<J[<J[   35-49, 76-77.    Plaintiff alleges that Defendant misused its

technology in violation of several contractual provisions

limiting its usage of Plaintiff's programs, and further breached

its contracts with Plaintiff by introducing malicious software

code into its programs.           FAC   <JI    77.   Thus, and in contrast to

Defendant's contention, the FAC's allegations distinguish

between behavior permissible under the contracts and behavior

that constitutes breach.           See Def.'s Mem. in Supp't 15.

Moreover, Defendant is mistaken in its contention that that the

contracts required Plaintiff to provide Defendant with an


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opportunity to cure a breach prior to suit.                               See Def.'s Mem. in

Supp't 15-16.           In fact,        the provisions which Defendant cites

govern a non-breaching party's right to terminate upon breach,

but do not limit a non-breaching party's right to sue for

breach.           See MSA   <JI   11 (a) ( 5) ; CMA   <JI   2. 5.



                  With respect to damages, Plaintiff alleged that it has

"lost or been notified of cancellation by major clients

expressly due to 24/7's improper conduct" and that it "also has

been informed by several clients that 24/7 actively is

disparaging LivePerson's technology and services based on

misrepresentation and misuse of LivePerson's confidential data,

which 24/7 is not authorized to use for competitive purposes."

FAC   <JI   50.     Plaintiff further alleges that the damages resulting

from Defendant's conduct exceed $75,000.                            FAC    <JI   67.   While

Plaintiff does not itemize the client relationships harmed and

does not estimate damages beyond the assertion that they are

substantially greater than the federal amount-in-controversy

requirement, the FAC provides adequate notice to Defendant on

the issue of damages.                  See Xpedior Creditor Trust v. Credit

Suisse First Boston (USA)                  Inc., 341 F. Supp. 2d 258, 272

(S.D.N.Y. 2004)             (Under Rule 8(a),               [the plaintiff] need only

allege that it was damaged; it is not required to specify the

measure of damages nor to plead proof of causation."); U.S.


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Network Servs., Inc. v. Frontier Commc'ns of W.,           Inc., 115 F.

Supp. 2d 353, 358      (W.D.N.Y. 2000).     Defendant's reference to

Jinno does not alter this conclusion, as the dismissed claim in

that case only stated that the counterclaimant "suffered damages

in a sum to be determined at trial."          2013 WL 4780049, at *3.

By contrast, Plaintiff here stated that damage exceeded $75,000

and impacted numerous client relationships, allegations that

provide Defendant with adequate notice of the breach of contract

claim.     The elements of this claim are adequately pled.



The Claims for Intentional Interference with Prospective and

Existing Economic Relationships Are In Part Adequately Pled



             A claim for intentional interference with an existing

or prospective economic relationship requires the pleading of

facts giving rise to a plausible inference that:            (1) the

plaintiff had an existing or prospective business relationship

with a third party;      (2) the defendant knew of that relationship

and intentionally interfered with it;          (3) the defendant acted

solely out of malice, or used dishonest, unfair, or improper

means; and (4) the defendant's interference caused injury to the

relationship.      Kirch v. Liberty Media Corp., 449 F.3d 388, 400

(2d Cir. 2006)); Camp Summit of Summitville, Inc. v. Visinsk,

06-cv-4994, 2007 WL 1152894, at *14         (S.D.N.Y. Apr. 16, 2007).


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          Plaintiff has adequately alleged the existence of

business relationships and Defendant's knowledge regarding those

relationships.        Contrary to Defendant's contention that

Plaintiff failed to mention affected clients, the Complaint

specifically references Plaintiff's client list attached to the

Complaint in Exhibit A, alleging that Defendant "interfered with

and continues to interfere with .                 these clients," and that

Defendant was aware of those relationships as they were part of

the CMA which Defendant signed.              Compare Def.'s Mem in Supp't

18-19 with FAC    ~~    81-82,     91.



          Plaintiff also adequately alleged improper

interference.     See FAC      ~   34; see also FAC   ~~   36, 37, 81.

Plaintiff alleged that Defendant "provided inaccurate business

performance data regarding LivePerson to LivePerson's clients,

which (a) could not be produced without accessing LivePerson's

confidential system data; and (b) differs significantly from

LivePerson's business performance data shown when LivePerson

technology is used by any of a dozen or so other outsourced

call-center labor providers and/or client call-center

employees."     FAC    ~~   38, 83.      Plaintiff also allegedly found

"24/7 programming code expressly designed to suppress the proper

operation of LivePerson's technology, such as preventing

livechat sessions from being initiated, and/or eliminating


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LivePerson's "chat" button from appearing altogether" on its

clients' websites.      FAC   <J[<J[   4 4, 8 3.   This conduct, assumed true

for the purposes of this motion, is sufficient to constitute

improper interference.        Carvel Corp. v. Noonan, 3 N.Y.3d 182,

190-91 (N.Y. 2004)     (explaining that competitors are barred from

engaging in "wrongful" means of interference, defined to include

"physical violence, fraud or misrepresentation, civil suits and

criminal prosecutions," or where the defendant is accused of

engaging in "conduct [that] was criminal or independently

tortious"); see also N. State Autobahn, Inc. v. Progressive Ins.

Grp.,   928 N.Y.S.2d 199, 206-07             (N.Y. Sup. Ct. 2011)                  (denying

summary judgment where defendant allegedly used "deceptive,

misleading and untrue statements which disparaged plaintiff" to

divert business), aff'd as modified 953 N.Y.S.2d 96 (App. Div.

2012); DiCosomo v. Getzoff, 11 Misc. 3d 1063(A), 816 N.Y.S.2d

695, at *5-6 (N.Y. Sup. Ct. Apr. 8, 2004)                (denying motion to

dismiss where plaintiff pled "the making of false and misleading

statements and [the conduct of] an anonymous and malicious smear

campaign").



            With respect to injury, Plaintiff adequately alleged

that "several of LivePerson's major clients have cancelled or

notified LivePerson that they intend to cancel their

relationship with LivePerson" as a result of the interference.


                                             32



                                                         ------~·--·-_,   ____________________ -
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FAC 'TI 87.



              By contrast, the portion of the FAC referencing

interference with Plaintiff's employees is not adequately pled.

Plaintiff did not allege that its employees were subject to

covenants not to compete, and failed to meet the "high burden of

asserting that defendant employed wrongful means, such as fraud,

misrepresentation or threats to effect the termination of

employment."     Lockheed Martin Corp. v. Aatlas Commerce Inc., 283

A.D.2d 801, 803, 725 N.Y.S.2d 722         (App. Div. 2001)    (internal

quotations and citations omitted).         The allegations with respect

to employees are limited to one paragraph alleging that

Defendant engaged in a "pattern of deliberate corporate raiding

of employees, up to and including entire business teams to leave

LivePerson for employment with 24/7."         FAC 'TI 84.    This does not

establish the "wrongful means" required to make this claim.



The Lanham Act Claim is Adequately Pled



              False advertising claims under the Lanham Act require

allegations that the defendant:       (1) made material

misrepresentations about the nature, characteristics, or

geographic origin of either the plaintiff's or defendant's goods

and services;     (2) used the false or misleading representations


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in commerce;      (3) made the representations in the context of

commercial advertising or promotion; and (4) made the plaintiff

believe he is likely to be damaged by the misrepresentation.

Randa Corp. v. Mulberry Thai Silks, Inc., 00-cv-4061, 2000 WL

1741680, at *2        (S.D.N.Y. Nov. 22, 2000); see also 28 U.S.C. §

1125(a); FAC      ~   99.



              Plaintiff contends that Defendant "falsely claim[ed]

to have developed the 'first' predictive or smart chat

platform," when in fact Plaintiff did, which resulted in damage

in the form of "loss of clients and potential clients, dilution

of good will, injury to its reputation, misappropriation of its

intellectual property, and devaluation of its live-interaction

and predictive analytics technology and its trade secrets."                    FAC

~   98.



              Plaintiff has not provided the context for the

allegedly false advertisement, making it difficult to evaluate

the "entire mosaic" of the advertisement rather than "each tile

separately," as the Second Circuit instructs.             See Vidal Sassoon

v. Bristol-Myers Co.,       661 F.2d 272, 276 (2d Cir. 1981) quoting

FTC v. Sterling Drug, Inc., 317 F.2d 669, 674            (2d Cir. 1963).

As Defendant correctly notes, "context may establish that the

statement was true, such as if [24]7 was promoting innovative


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                                                                      "---~·-----   --   - ··------
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features unique to [24]7's technology."          Def.'s Mem. in Supp't

20-21   (citing Data Cash Sys., Inc. v. JS&A Grp.,        Inc., No. 79 C

0591, 1984 U.S. Dist. LEXIS 18446, at *7-8         (N.D. Ill. Mar. 20,

1984)   (in case brought under Lanham Act, defendant's claim that

its computerized chess program was "a new product" "is

technically true, i.e.,      [the product] was a new product for [the

defendant] .    It marked [the defendant's] entry into the computer

chess field.")).



            The 'first' claim may prove to be immaterial puffery,

considering the sophistication of the clients in this industry

and the unlikelihood that claims of developing the 'first' such

software would influence their purchasing decisions.            See Allen

Organ Co. v. Galanti Organ Builders, Inc., 798 F. Supp. 1162,

1169-70 (E.D. Pa. 1992)      (any false advertisement of church

organs did not tend to deceive intended audience and were not

material; organ market was "unlike that of a mass market for a

consumer item purchased off the shelf, such as dog food or

orange juice, where the advertisement alone may sell the

product"); Data Cash Sys., Inc. v. Js&a Grp.,          Inc., No. 79 C

0591, 1984 WL 63623, at *3 (N.D. Ill. Mar. 20, 1984)           (rejecting

Lanham Act claim because advertisement stating that a computer

chess game was a "new product" and "new technology" was

"puffing" and there was only de minimis likelihood of deception


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of readers of advertisements in trade journals, who were

somewhat sophisticated about the technology); but see Basile

Baumann Prost Cole & Assocs., Inc. v. BBP & Assocs. LLC et al.,

875 F. Supp. 2d 511, 522, 530 (D. Md. 2012).



          Since "materiality is generally a question of fact"

poorly suited to a determination at the pleadings stage, this

claim is not dismissed.     See id. at 530.     Plaintiff is instead

directed to provide, pursuant to Rule 12(e) of the Federal Rules

of Civil Procedure, a more definite statement regarding the

context and materiality of Defendant's alleged false

advertisement and how the advertisement damaged Plaintiff.



The Common Law Unfair Competition Claim is Adequately Pled



          A claim for unfair competition requires the pleading

of facts giving rise to a plausible inference that the

defendant, acting in bad faith, misappropriated the plaintiff's

labor and expenditures to gain a commercial advantage or

maliciously interfered with the plaintiff's good will.          See Kwan

v Schlein, 441 F. Supp. 2d 491, 502-03 (S.D.N.Y. 2006).          "As

numerous courts have noted, the scope of the unfair competition

action is generally limited to three categories: passing off

one's goods as those of another, engaging in activities solely


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to destroy a rival, and using methods themselves independently

illegal."     Coca-Cola N. Am. v. Crawley Juice,         Inc., 09-cv-3259,

2011 WL 1882845, at *7         (E.D.N.Y. May 17, 2011)    (internal

quotations and citations omitted).



            Plaintiff has adequately alleged that Defendant

embedding spyware code on LivePerson's clients' websites to

reverse engineer LivePerson's proprietary behavioral analytics

and predictive targeting functionalities,          injecting tracking

markers into LivePerson's systems to facilitate unauthorized

data mining, manipulating LivePerson's software on client

deployments to reduce its performance, and deploying software

code designed to suppress the proper operation of LivePerson's

technology.     See FAC   ~~   37-44.    This conduct, if true, would

either be independently illegal or would constitute Defendant

passing off Plaintiff's product as its own.           Common law unfair

competition is therefore adequately pled.



The Unjust Enrichment Claim is Adequately Pled



            To plead unjust enrichment, New York law requires that

(1) the defendant benefitted;           (2) at the plaintiff's expense;

and (3) equity and good conscience require restitution.               Beth

Israel Med. Ctr. v. Horizon Blue Cross & Blue Shield of N.J.,


                                         37
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Inc.,   448 F. 3d 573, 586 (2d Cir. 2006).       Such a claim may be

pled as an alternative to a breach of contract claim.             Singer v.

Xipto Inc., 852 F. Supp. 2d 416, 426 (S.D.N.Y. Mar. 20, 2012)

("While a party generally may not simultaneously recover upon a

breach of contract and unjust enrichment claim arising from the

same facts,    it is still permissible to plead such claims as

alternative theories.").



            FAC alleges that Defendant improperly obtained

Plaintiff's intellectual property and confidential information

and used them to develop a competing product.           FAC crrcrr 35-44.

The FAC further alleges that Defendant's conduct caused

Plaintiff's clients to terminate their dealings with Plaintiff

in favor of Defendant.       A claim for unjust enrichment is

established.




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   Conclusion
                For the reasons set out above, Defendant's motion is

   granted in part and denied in part.       With respect the claims and

   portions of claims held to be inadequately pled, Plaintiff may

   replead within twenty days of the date of this opinion.          With

   respect to the Lanham Act claim, Plaintiff shall provide a more

   definite statement as outlined above within twenty days of the

   date of this opinion.




                It is so ordered.




~ I Wlvv!JV2,7
   New York, NY
                                                    ROBERT W. SWEET
                                                        U.S.D.J.


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